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                        UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION                                          ENTERED
                                                                                          02/04/2019
IN RE:                                        §
HOUTEX BUILDERS, LLC, et al                   §       CASE NO: 18-34658
                                              §
415 SHADYWOOD, LLC                            §       CASE NO: 18-34659
                                              §
2203 LOOSCAN LANE, LLC                        §       CASE NO: 18-34660
                                              §       Jointly Administered Order
        Debtor(s)                             §
                                              §       CHAPTER 11

ORDER ON DEBTORS EMERGENCY SECOND MOTION FOR ORDER EXTENDING
                     EXCLUSIVITY PERIODS

The Court, having considered the Debtors’ Emergency Second Motion for Order Extending
Exclusivity Periods Pursuant to Bankruptcy Code Section 1121 (ECF No. 212), the response
deadline having passed and no responses in opposition being filed, it is accordingly ORDERED:

Pursuant to 11 U.S.C. § 1121(d), that the extensions requested, extending the 120-day and 180-
day exclusivity periods in § 1121(b) and (c) for an additional 45 days to March 21, 2019 and
May 20, 2019, respectively, is granted.

SO ORDERED.



       SIGNED: 02/04/2019.


                                               ___________________________________
                                               Jeffrey P. Norman
                                               United States Bankruptcy Judge




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